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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS
SAN ANTONIO DIVISION

MARK ORTEGA, Individually and on
Behalf of All Others Similarly Situated,

Plaintiff,
SA-24-CV-351-JKP (HJB)

Vv.

PRIORITY CONTRACTING AND
ROOFING LLC, d/b/a Priority Roofing,

607 60? 40> CO 6O2 CO? 6 6? GOR 0 LO?

Defendant.
ORDER SETTING VIDEO HEARING

Before the Court is Defendant’s Opposed Rule 60(b) Motion to Vacate Clerk’s Entry of
Default and August 1*' Discovery Deadline (Docket Entry 15), Defendant’s Opposed Motion to
Quash Subpoena (Docket Entry 16), and Defendant’s Motion for Expedited Consideration of
Defendant’s Rule 60(b) Motino to Vacate Clerk’s Entry of Default and August 1‘ Discovery Order
and Motion to Quash (Docket Entry 17). Pretrial and scheduling matters in this case have been

re-referred to the undersigned pursuant to 28 U.S.C. § 636(b). (See Docket Entry 11.)
It is hereby ORDERED that Defendant’s motions (Docket Entries 15, 16, and 17) are set
for a hearing on November 14, 2024, at 1:30 P.M. The hearing will be held by video
teleconference using the Zoom video platform. On the designated date and time of the hearing,

the parties are directed to join the ZOOMGOV using the following credentials:

https://txwd-uscourts.zoomgov.com/j/16126018188
Meeting ID: 161 2601 8188

The parties are responsible for ensuring, in advance of the hearing, that their video
teleconference equipment is functioning and properly connects with the Court’s system. Parties

experiencing any technical difficulties should contact Courtroom Deputy Cindy Miranda at
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cindy_miranda@txwd.uscourts.gov.

SIGNED on September 23, 2024.

LL, ip

Heny J Zita
United Stdtes Magistrate Judge

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